Case 1:19-cv-20480-DPG Document 4 Entered on FLSD Docket 02/12/2019 Page 1 of 3


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 19-cv-20480-GAYLES

 MARC CELESTIN,

                 Plaintiff,
 v.

 LUCIA PIERRE,

             Defendant,
 ______________________________/
                                    ORDER DISMISSING CASE

         THIS CAUSE comes before the Court on a sua sponte review of the record. Plaintiff,

 Marc Celestin, appearing pro se, filed this action on February 5, 2019, using a form titled

 Complaint for a Civil Case [ECF No. 1]. Plaintiff also filed a Motion for Leave to Proceed In

 Forma Pauperis the same day [ECF No. 3]. Because Plaintiff has moved to proceed in forma

 pauperis, the screening provisions of the Prison Litigation Reform Act, 28 U.S.C. § 1915(e), are

 applicable. Pursuant to that statute, the court is permitted to dismiss a suit “any time [] the court

 determines that . . . (B) the action or appeal (i) is frivolous or malicious; (ii) fails to state a claim

 on which relief may be granted; or (iii) seeks monetary relief against a defendant who is immune

 from such relief.” Id. § 1915(e)(2).

         The standards governing dismissals for failure to state a claim under § 1915(e)(2)(B)(ii)

 are the same as those governing dismissals under Federal Rule of Civil Procedure 12(b)(6). Alba

 v. Montford, 517 F.3d 1249, 1252 (11th Cir. 2008). To state a claim for relief, a pleading must

 contain “(1) a short and plain statement of the grounds for the court’s jurisdiction . . . ; (2) a short

 and plain statement of the claim showing that the pleader is entitled to relief; and (3) a demand

 for the relief sought.” Fed. R. Civ. P. 8. To survive a motion to dismiss, a claim “must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
Case 1:19-cv-20480-DPG Document 4 Entered on FLSD Docket 02/12/2019 Page 2 of 3


 570 (2007)). “[T]he pleadings are construed broadly,” Levine v. World Fin. Network Nat’l Bank,

 437 F.3d 1118, 1120 (11th Cir. 2006), and the allegations in the complaint are viewed in the light

 most favorable to the plaintiff, Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir.

 1998). At bottom, the question is not whether the claimant “will ultimately prevail . . . but

 whether his complaint [is] sufficient to cross the federal court’s threshold.” Skinner v. Switzer,

 562 U.S. 521, 530 (2011).

          Independent of its duty under Section 1915(e) to evaluate the claim of a party proceeding

 in forma pauperis, the Court is obligated to consider sua sponte whether a claim falls within its

 subject matter jurisdiction and dismiss the claim if it finds subject matter jurisdiction to be lack-

 ing. 1 Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012); see also Dutta-Roy v. Fain, No. 14-0280,

 2014 WL 1795205, at *2 (N.D. Ga. May 5, 2014); accord Fed. R. Civ. P. 12(h)(3). “Subject-

 matter jurisdiction . . . refers to a tribunal’s power to hear a case.” Union Pac. R.R. Co. v. Bhd. of

 Locomotive Eng’rs & Trainmen Gen. Comm. of Adjustment, Cent. Region, 558 U.S. 67, 81 (2009)

 (citations and internal quotation marks omitted). “In a given case, a federal district court must have

 at least one of three types of subject matter jurisdiction: (1) jurisdiction under a specific statutory

 grant; (2) federal question jurisdiction pursuant to 28 U.S.C. § 1331; or (3) diversity jurisdiction

 pursuant to 28 U.S.C. § 1332(a).” Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469 (11th Cir.

 1997).

          In his Complaint, Plaintiff alleges that Defendant, his landlord, refuses to make home

 repairs.    Although Plaintiff checked the boxes on the Civil Complaint form for both federal

 question and diversity jurisdiction, there is nothing to suggest that this Court has any jurisdic-

 tion over Plaintiff’s claims. Plaintiff’s Complaint does not raise an issue of federal law.                  And,

 while Plaintiff does indicate that he and Defendant are citizens of different states, Plaintiff



 1 Notably, if the Court lacks subject matter jurisdiction over a case, the complaint is also frivolous under Section
   1915(e). See Davis v. Ryan Oaks Apt., 357 F. App’x 237, 238-39 (11th Cir. 2009) (per curiam).
                                                          2
Case 1:19-cv-20480-DPG Document 4 Entered on FLSD Docket 02/12/2019 Page 3 of 3


 does not allege the requisite amount in controversy. See Galbis v. Praetorian Ins. Co., 18-23144,

 2018 WL 5918911, at *2 (S.D. Fla. Nov. 13, 2018) (“To establish diversity jurisdiction, Defendant

 must demonstrate complete diversity between the parties and that the amount in controversy ex-

 ceeds $75,000, ‘exclusive of interest and costs.’”) (quoting 28 U.S.C. § 1332(a)). As a result, this

 action must be dismissed for lack of subject matter jurisdiction. Based thereon, it is

        ORDERED AND ADJUDGED that this action is DISMISSED and CLOSED for ad-

 ministrative purposes. All pending motions are DENIED as MOOT.

        DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of February, 2019.



                                                      ________________________________
                                                      DARRIN P. GAYLES
                                                      UNITED STATES DISTRICT JUDGE




                                                  3
